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March 5, 2023

Via ECF

Mr. David J. Smith, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, GA 30303

     Re:   Williams v. Reckitt Benckiser LLC, No. 22-11232-AA
                 Response to Plaintiffs’ 28(j) submission of
                 March 1, 2023
           Before PRYOR, C.J., MARCUS, S.J., and MIZELLE, D.J.
           Submitted after oral argument March 2, 2023

Dear Mr. Smith:

       The class representatives allege the same interest and that they
“suffer the same injury as the class members.” Prado-Steiman v.
Bush, 221 F.3d 1266, 1279 (11th Cir. 2000) (quotation omitted). Every
court of appeals to consider the question holds that this creates Article III
standing to resolve class certification questions. E.g., Morrison v. YTB
Int’l, Inc., 649 F.3d 533, 536 (7th Cir. 2011) (Easterbrook, J.). Class
certification would require finding that De-Stress claims are not
materially different than claims for products class representatives
purchased. If so, class representatives’ purchases give them standing to
sue over other products in the class. If not, lack of certification would
moot an end-of-case standing inquiry by preventing these class
representatives from settling De-Stress claims.
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      Plaintiffs’ reliance on Navient, however, is inapposite. The
injunctive relief claim as drafted does not allege certainly imminent
injury. See also Berni v. Barilla S.P.A., 964 F.3d 141, 146-49 (2d
Cir. 2020). But the Court still has appellate jurisdiction over the
complaint as a whole because of the damages claims.

      Any standing issues are curable with an amended complaint with
new class representatives making different or even narrower allegations.
A class settlement may include relief that plaintiffs could not win at trial.
Firefighters v. City of Cleveland, 478 U.S. 501 (1986). Parties could
hypothetically attempt to use prospective injunctive relief to settle a
complaint with only a retrospective damages claim.

      Thus the district court on remand is almost certain to see a
materially identical settlement. Appellant encourages the panel to
address now the fully briefed Rule 23(e)(2) questions, including whether
that rule permits parties to settle a class’s retrospective damages claims
with prospective injunctive relief directed to future purchasers. Frank
Opening Br. 39-49; Reply Br. 19-22. “[F]or reasons of judicial economy,
we will nevertheless address these alleged errors because the issues are
likely to recur during the remand…” Westchester Specialty Ins. Servs. v.
U.S. Fire Ins. Co., 119 F.3d 1505, 1514 (11th Cir. 1997); accord Holland
v. Fla., 775 F.3d 1294, 1317 (11th Cir. 2014); Judd v. Haley, 250
F.3d 1308, 1319 (11th Cir. 2001) (noting “waste of judicial resources”).

                                   Respectfully submitted,

                                   /s/ Theodore H. Frank
                                   Theodore H. Frank

                                   Counsel for Objector-Appellant
                                   Theodore H. Frank

cc:   Counsel of Record (via CM/ECF)
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                           Proof of Service

      I hereby certify that on March 5, 2023, I electronically filed the
foregoing with the Clerk of the United States Court of Appeals for the
Eleventh Circuit using the CM/ECF system, which will provide
notification of such filing to all who are ECF-registered filers.



                                 /s/ Theodore H. Frank
